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Civil Action No. 21 MC 92 (SAS)

 

IN RE INITIAL PUBLIC OFFERING
SECURITIES LITIGATION 01 Civ. 10640 (SAS)

This Document Relates To:
In re Foundry Networks, Inc. IPO Sec. Litig.

 

X
ORDER AND FINAL JUDGMENT

On the 10" day of September, 2009, a hearing having been held before this Court to
determine: (1) whether the terms and conditions of the Stipulation and Agreement of Settlement
dated April 1, 2009 (the “Stipulation’”) are fair, reasonable, and adequate for the settlement of all
claims asserted by the Settlement Classes against the Defendants in the respective operative
Complaints now pending in the Actions in this Court (including the above-referenced Action)
under the captions listed on Exhibit A to the Stipulation, including the release of the Defendants
and the Protected Persons from the Settled Claims, and should be approved; (2) whether
judgment should be entered dismissing the Complaints as against the Defendants in each of the
respective Actions only, on the merits and with prejudice in favor of the Defendants and as
against all persons or entities who are members of the respective Settlement Classes in such
Actions who have not requested exclusion therefrom; (3) whether to approve the proposed
Designation and Plan of Allocation as a fair and reasonable method to allocate the settlement
proceeds among the cases and the members of the Settlement Classes; (4) whether and in what
amount to award Plaintiffs’ Counsel fees and reimbursement of expenses; and (5) whether and in
what amount to award the proposed Settlement Class Representatives and/or Lead Plaintiffs

reasonable time and expense reimbursement (including lost wages) incurred as a result of their
Case 1:01-cv-10640-SAS Document 40 Filed 12/04/09 Page 2 of 30

representation of the Settlement Classes (“PSLRA Award Requests”). The Court having
considered all matters submitted to it at the hearing and otherwise; and it appearing that a notice
of the hearing substantially in the form approved by the Court was mailed to all persons or
entities reasonably identifiable who purchased or otherwise acquired the Subject Securities set
forth on Schedule 1 to the Notice of Pendency and Proposed Global Settlement of 309 Class
Actions, Motion for Approval of Settlement, Plan of Allocation, Attorneys’ Fees and Expenses,
PSLRA Awards of Reimbursement of Representatives’ Time and Expenses and Settlement
Fairness Hearing (the “Settlement Notice”) in the date ranges set forth in said Schedule 1 (the
“Settlement Classes” or “Settlement Class Periods”), as shown by the records of the Issuers’
transfer agents at the respective addresses set forth in such records, and that a summary notice of
the hearing substantially in the form approved by the Court was published in the national
editions of The Wall Street Journal, USA Today, and The New York Times, and once over the PR
Newswire pursuant to the specifications of the Court, and copies of the Settlement Notice were
mailed to all persons or entities who were identified as potential class members in connection
with the previously terminated settlement or who requested copies as a result of the publication
notice or otherwise, and copies of the Settlement Notice were also made available at
www. iposecuritieslitigation.com; and the Court having considered and determined the fairness,
reasonableness and adequacy of the Settlement, the proposed Designation and Plan of
Allocation, and the fairness and reasonableness of the award of attorneys’ fees and expenses
requested and the PSLRA Award Requests; and all initial capitalized terms used herein having
the meanings as set forth and defined in the Stipulation.

NOW, THEREFORE, IT IS HEREBY ORDERED, ADJUDGED AND DECREED

THAT:
 

Case 1:01-cv-10640-SAS Document 40 Filed 12/04/09 Page 3 of 30

1. The Court has jurisdiction over the subject matter of this Action, the Lead
Plaintiff(s), Proposed Settlement Class Representative(s), all Settlement Class Members, and the
Defendants, in this Action.

2. The Court finds for the purposes of the Settlement only that the prerequisites for
certification of this Action as a class action under Rule 23 (a) and (b)(3) of the Federal Rules of
Civil Procedure have been satisfied in that in this Action: (a) the number of Settlement Class
Members herein is so numerous that joinder of all members thereof is impracticable; (b) there are
questions of law and fact common to the members of the Settlement Class herein; (c) the claims
of the Settlement Class Representative(s) herein are typical of the claims of the Settlement Class
sought to be represented; (d) the Settlement Class Representative(s) and Plaintiffs’ Executive
Committee have fairly and adequately represented, and will fairly and adequately represent, the
interests of the Settlement Class herein; (e) questions of law and fact common to the remaining
members of the Settlement Class herein predominate over questions affecting only individual
remaining members of the Settlement Class herein; and (f) a class action is superior to other
available methods for the fair and efficient adjudication of the remaining controversy in this
Action.

3. Pursuant to Rule 23 of the Federal Rules of Civil Procedure and for the purposes
of the Settlement only, this Court hereby finally certifies this Action as a class action on behalf
of all persons who purchased or otherwise acquired the common stock (the “Subject Security”)
of Foundry Networks, Inc. (“Foundry Networks”) during the period September 27, 1999 through
December 6, 2000 (the “Foundry Networks Settlement Class”). Excluded from the Foundry
Networks Settlement Class herein are: (a) each Person, other than a Natural Person, that was

identified as a recipient of an allocation of shares from the “institutional pot” in the IPO or Other
 

Case 1:01-cv-10640-SAS Document 40 Filed 12/04/09 Page 4 of 30

Charged Offering of any of the 309 Subject Securities, according to a list derived from the final
“institutional pot” list created at the time of each IPO or Other Charged Offering by the lead
Underwriter in that Offering (“Excluded Allocants”); (b) (1) each Person that currently is or
previously was a named defendant in any of the 309 Actions (hereafter “Named Defendant”);
(ii) any attorney who has appeared in the Actions on behalf of a Named Defendant; (iii)
members of the immediate family of any Named Defendant, (iv) any entity in which any
Excluded Allocant or Named Defendant has or during any of the class periods had a majority
interest; (v) the legal representatives, heirs, successors or assigns of any Excluded Allocant or
Named Defendant; and (vi) any director, officer, employee, or beneficial owner of any Excluded
Allocant or Named Defendant during any of the Settlement Class Periods. Notwithstanding the
prior sentence, a person shall not be excluded from the Foundry Networks Settlement Class
herein merely by virtue of his, her or its beneficial ownership of the securities of a publicly-
traded Excluded Allocant or Named Defendant. Also excluded from the Foundry Networks
Settlement Class herein are the persons and/or entities who requested exclusion from every
Settlement Class as listed on Exhibit 1 annexed hereto and the following persons and/or entities
who requested exclusion from the Foundry Networks Settlement Class: Robert L. Estrin
(Individual Acct.), Robert L. Estrin (Mary L. Estrin Trust Acct.) and Mr. & Mrs. Jon Kayyem
(Joint Acct.).

4. Pursuant to Rule 23 of the Federal Rules of Civil Procedure and for the purposes
of the Settlement only, the Proposed Settlement Class Representative(s) herein, Nina Hardoff,
Frank Mistretta and Paul Cyrek, are finally certified as Settlement Class Representative(s) in this
Action; and the firms comprising the Plaintiffs’ Executive Committee are finally certified as

Class Counsel in this Action.
Case 1:01-cv-10640-SAS Document 40 Filed 12/04/09 Page 5 of 30

5. Notice of the pendency of the Actions as class actions and of the proposed
Settlement was given to all Members of the Settlement Classes in all 309 Actions who could be
identified with reasonable effort, including all members of the Foundry Networks Settlement
Class herein. The form and method of notifying the Foundry Networks Settlement Class of the
pendency of this Action as a class action and of the terms and conditions of the proposed
Settlement, including the use of a separate website to identify the alleged artificial inflation
amounts and end of Class Period holding price for the Subject Security, met the requirements of
Rule 23 of the Federal Rules of Civil Procedure, Section 27 of the Securities Act of 1933, 15
U.S.C. § 77z-1(a)(7) as amended by the Private Securities Litigation Reform Act of 1995,
Section 21D(a)(7) of the Securities Exchange Act of 1934, 15 U.S.C. § 78u-4(a)(7) as amended
by the Private Securities Litigation Reform Act of 1995, due process, Rule 23.1 of the Local
Civil Rules of the United States District Courts for the Southern and Eastern Districts of New
York, and any other applicable law, constituted the best notice practicable under the
circumstances, and constituted due and sufficient notice to all persons and entities entitled
thereto.

6. The Settlement is approved as fair, reasonable and adequate for the settlement of
this Action, and the parties to the Stipulation are directed to consummate the Settlement in
accordance with the terms and provisions of the Stipulation.

7. Except to the extent waived by all parties in writing, the Settlement is conditioned
on entry of an Order and Final Judgment approving the settlements in each and every one of the

Actions.

8. The Complaints in this Action, which the Court finds were each filed on a good

faith basis in accordance with the Private Securities Litigation Reform Act of 1995 (the
Case 1:01-cv-10640-SAS Document 40 Filed 12/04/09 Page 6 of 30

‘“PSLRA”) and Rule 11 of the Federal Rules of Civil Procedure, based upon publicly available
information, are hereby dismissed as against all Defendants in this Action and the Bankrupt
Issuers, with prejudice and, except to the extent costs are provided in the Stipulation, without
costs.

9. Except as provided in paragraphs 10 and 11 below, upon the Effective Date, Lead
Plaintiff(s), the Settlement Class Representative(s) and the Foundry Networks Settlement Class
Members in this Action, on behalf of themselves, their heirs, executors, administrators,
successors and assigns are hereby permanently barred and enjoined from filing, commencing,
prosecuting, intervening in or participating in, any and all Settled Claims against any and all of
the Protected Persons in the Actions or in any other proceeding. The Settled Claims are hereby
compromised, settled, released, discharged and dismissed as against the Protected Persons on the
merits and with prejudice by virtue of the proceedings herein and this Order and Final Judgment.

10. Lead Plaintiff(s), Proposed Settlement Class Representative(s) and the Foundry
Networks Settlement Class Members, upon the Effective Date, are hereby deemed to have
covenanted not to sue the Bankrupt Issuers or Lehman or prosecute any action against the
Bankrupt Issuers or Lehman with respect to any Bankrupt Issuers and Lehman Resolved Claims;
provided, however, that in the event that any Bankrupt Issuers and/or Lehman asserts a claim
against any Lead Plaintiff, Proposed Settlement Class Representative or Foundry Networks
Settlement Class Member that otherwise would have been released pursuant to this Paragraph 10,
such Lead Plaintiff, Proposed Settlement Class Representative or Foundry Networks Settlement
Class Member shall be permitted to assert defensively (up to the amount of any Bankrupt
Issuer’s or Lehman’s claim, as the case may be) all matters against any Bankrupt Issuer and/or

Lehman that would otherwise have been barred or released pursuant to this Paragraph.
Case 1:01-cv-10640-SAS Document 40 Filed 12/04/09 Page 7 of 30

11. The release and injunction referred to in Paragraphs 9 and 10 above shall not bar
any Foundry Networks Settlement Class Member from asserting in any other proceeding that
conduct with regard to the allocation of any shares to or by Protected Persons is relevant
evidence in such other proceeding, but shall bar Foundry Networks Settlement Class Members in
their own right from asserting a Settled Claim against the Protected Persons in that other
proceeding. The Protected Persons shall retain all rights and defenses with regard to any such
assertion.

12. Upon the Effective Date, each of the Protected Persons (except Lehman and the
Bankrupt Issuers) are hereby deemed to have released and forever discharged the Settled
Defendant Claims in this Action, against any Foundry Networks Settlement Class Members,
directors and officers of any Foundry Networks Settlement Class Member, and the present and
former agents, attorneys and employees of any Foundry Networks Settlement Class Member,
acting in such capacity, and each of their respective successors and assigns to the fullest extent
permitted by law.

13. Upon the Effective Date, each of the Protected Persons (except Lehman and the
Bankrupt Issuers) is hereby deemed to have released and forever discharged the Settled Cross
Defendant Claims against any other Protected Person, to the extent described in Paragraphs 26
and 27 of the Stipulation, to the fullest extent permitted by law. Upon the Effective Date, the
Protected Persons are, to the fullest extent permitted by law, deemed to covenant not to sue the
Bankrupt Issuers and/or Lehman and/or a Protected Person or prosecute any action against the
Bankrupt Issuers and/or Lehman and/or a Protected Person with respect to any Settled Cross
Defendant Claims; provided, however, that in the event that a Bankrupt Issuer and/or Lehman

and/or a Protected Person asserts a claim against any Protected Person that otherwise would have
 

Case 1:01-cv-10640-SAS Document 40 Filed 12/04/09 Page 8 of 30

been released pursuant to this Paragraph, such Protected Person shall be permitted to assert
defensively (up to the amount of the Bankrupt Issuer’s and/or Lehman’s and/or the Protected
Person’s claim) all matters against the Bankrupt Issuers and/or Lehman and/or the Protected
Person that would otherwise have been barred or released pursuant to this Paragraph.

14. To the fullest extent permitted by law, the Protected Persons are hereby
discharged from all Claims Over by any person or entity, whether arising under state, federal or
common law, based upon, arising out of, relating to, or in connection with the Settled Claims of
any Foundry Networks Settlement Class Member. To the fullest extent permitted by law, the
Court hereby bars, enjoins and restrains commencement, enforcement or assertion of all such
Claims Over: (a) against the Protected Persons by any person (except Lehman); and (b) by the
Protected Persons (except Lehman) against any person or entity.

15. To effectuate the protection of Protected Persons contemplated by Paragraph 14
and to compensate for any impairment of any person’s interest in barred Claims Over, the Court
orders that any judgment or award obtained by any shareholder of an Issuer or an Issuer on any
claim arising out of or reasonably flowing from the conduct alleged to be wrongful in these
Actions (except for Section 16(b) claims against any Defendant in litigations previously filed as
of the date of execution of the Stipulation), in this Court, in any federal or state court, or in any
other court, arbitration proceeding, administrative agency proceeding, or other forum in the
United States or elsewhere, including but not limited to claims against Lehman, shall be reduced
by the greater of (i) the amount that corresponds to the percentage of proportionate fault of
Protected Persons adjudged responsible or (11) the amount allocated to the Action against that

Issuer under the Plan of Allocation in this Settlement.
Case 1:01-cv-10640-SAS Document 40 Filed 12/04/09 Page 9 of 30

16. | The Defendants have denied and continue to deny any wrongdoing whatsoever.
This Order and Final Judgment shall in no event be construed or deemed to be evidence of or an
admission, presumption or concession on the part of any Protected Person of any fault, liability,
coverage or wrongdoing as to any facts or claims asserted in the Actions (or any infirmity in the
defenses that they have asserted or could assert in the Actions), or any other actions or
proceedings, and shall not be interpreted, construed, deemed, invoked, offered, or received in
evidence or otherwise used against a Protected Person in the Actions, or in any other action or
proceeding, whether civil, criminal or administrative. Notwithstanding anything contained herein
to the contrary, this Order and Final Judgment may be used by any Person to enforce its terms.

17. The proposed Plan of Designation’ and Plan of Allocation’ are approved as fair
and reasonable, and Plaintiffs’ Executive Committee and the Claims Administrator are directed
to administer the Stipulation in accordance with their terms and provisions.

18. The Court finds that all parties and their counsel have complied with each
requirement of Rule 11 of the Federal Rules of Civil Procedure as to all proceedings herein.

19. Pursuant to this Court’s October 5, 2009 Opinion and Order, attorneys’ fees in the
amount of one-third (33-1/3%) of the Settlement amount, net of $46,941,556.96 of litigation
expenses, $27,500,000 of anticipated Administration fees, and a total of $1,303,593.05 in
PSLRA reimbursements awarded to specific plaintiffs, were awarded to Plaintiffs’ Counsel.
Attached hereto as Exhibit 2 is a list showing, for each of the Actions covered by this Court’s
October 5, 2009 Opinion and Order: (1) the Total Designation Amounts for each of the Actions

covered by this Court’s October 5, 2009 Opinion and Order; (ii) the proportionate amounts of the

 

' Schedule 2 to Exhibit 1 to Exhibit C of the Stipulation.
As set forth in the Notice (Exhibit 1 to Exhibit C of the Stipulation) beginning at page 14.
Case 1:01-cv-10640-SAS Document 40 Filed 12/04/09 Page 10 of 30

$27,500,000 reserved for the Administrators’ fees; (iii) the PSLRA Awards, and (iv) the
proportionate amounts of the $46,941,556.96 of litigation expenses awarded. In this Action,
Plaintiffs’ Counsel are awarded the amounts of attorneys’ fees and litigation expenses as shown
on Exhibit 2 for this Action, which sum the Court finds to be fair and reasonable.? The foregoing
fees and expenses shall be paid to Plaintiffs’ Executive Committee from the Gross Settlement
Fund with interest from the date such Settlement Fund was funded to the date of payment at the
same net rate that the Settlement Fund earns. The award of attorneys’ fees shall be allocated
among Plaintiffs’ Counsel by, and in a fashion which in the opinion of, Plaintiffs’ Executive
Committee, fairly compensates Plaintiffs’ Counsel for their respective contributions in the
prosecution of this Action.

20. In making this award of attorneys’ fees and reimbursement of expenses to be paid
from the Gross Settlement Fund, the Court has considered the reasons and facts discussed at
length in the Court’s October 5, 2009 Opinion and Order, including that:

a. Plaintiffs’ Counsel has created a settlement fund which is reflected in the
Total Designation Amount for this Action shown on Exhibit 2 attached hereto, that is already on
deposit and earning interest, and that numerous Foundry Networks Settlement Class Members
who submit acceptable Proofs of Claim will benefit from the Settlement created by Plaintiffs’

Counsel;

 

; No adjustment shall be made for any spillover to or from this Action’s Total Designation

Amount, as any spillover amount will ultimately go to Members of the Settlement Classes, net of
the present fee award only, in which case the portion of the fee attributable to such spillover shall
be deemed paid from the spillover’s recipients. There shall be no reversion to Defendants by
virtue of any spillover, nor shall any additional fees be paid to Plaintiffs’ Counsel upon any
spillover.

10
 

Case 1:01-cv-10640-SAS Document 40 Filed 12/04/09 Page 11 of 30

b. Over seven million copies of the Settlement Notice were disseminated to
putative Settlement Class Members in all 309 Actions, including 156,939 mailed with
“Frontispieces” specifically directed to members of the Foundry Networks Settlement Class,
indicating that Plaintiffs’ Counsel were moving for attorneys’ fees in the amount of up to 33-
1/3% of the Gross Settlement Fund, plus interest, and for retmbursement of expenses in an
amount of approximately $56 Million, plus interest, and approximately only 140 objections,
representing less than a hundredth of one percent of all Settlement Classes, were filed against the
Settlement and/or the fee and expense request set forth in the Settlement Notice;

c. Plaintiffs’ Counsel have conducted the litigation and achieved the
Settlement with skill, perseverance and diligent advocacy;

d. The action involves complex factual and legal issues and was actively
prosecuted over eight years and, in the absence of a settlement, would involve further lengthy
proceedings with uncertain resolution of the complex factual and legal issues;

€. Had Plaintiffs’ Counsel not achieved the Settlement there would remain a
significant risk that the Settlement Classes may have recovered less or nothing from the
Defendants;

f. Plaintiffs' Counsel have committed hundreds of thousands of hours in
litigating the 309 Actions and ultimately achieving the Settlement; and

g. The amount of attorneys’ fees awarded and expenses reimbursed from the
Settlement Fund are fair and reasonable under the circumstances of this Action.

21. ‘Pursuant to the PSLRA, Paul Cyrek and Frank Mistretta are hereby awarded

$79.17 and $990.20, respectively, as reasonable time and expense retmbursement (including lost

11
Case 1:01-cv-10640-SAS Document 40 Filed 12/04/09 Page 12 of 30

wages) incurred as a result of representing the Foundry Networks Settlement Class in this

Action.

22. In granting these PSLRA Award Requests to be paid out of the Gross Settlement
Fund, the Court has considered and found the reasons and facts discussed at length in the Court’s
October 5, 2009 Opinion and Order.

23. Exclusive jurisdiction is hereby retained over the parties and the Foundry
Networks Settlement Class Members for all matters relating to this Action, including the
administration, interpretation, effectuation or enforcement of the Stipulation and this Order and
Final Judgment, including any application for fees and expenses incurred in connection with
administering and distributing the settlement proceeds to the members of the Foundry Networks
Settlement Class, and for all further proceedings herein relating to the Settlement.

24. Without further order of the Court, the parties may agree to reasonable extensions
of time to carry out any of the provisions of the Stipulation.

25. The Clerk of the Court is directed to file a true copy of this Order and Final
Judgment in this Action.

Dated: New York, New York

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HONORAB IKE SHIR AwAs A.SCHARDLIN
UNITED STATES DISTRICT JUDGE

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Case 1:01-cv-10640-SAS Document 40 Filed 12/04/09 Page 13 of 30

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Case 1:01-cv-10640-SAS Document 40 Filed 12/04/09 Page 14 of 30

EXHIBIT 1

IN RE INITIAL PUBLIC OFFERING SECURITIES LITIGATION
CIVIL ACTION NO. 21 MC 92 (SAS)

EXCLUSION REQUESTS - ALL SETTLEMENT CLASSES

Donna R. Adams

Fredric L. Aibel (Trust Acct.)

Brad Anselmo

Donner T. Bailey (Deceased) (IRA Acct.)

Richard L. Balser (PMA Acct.)

Richard G. Barrows (IRA Acct.)

Marcelle G. Baumbach

James D. Becker

Karen Belsky & Melvin Belsky (Trust Acct.)

Daniel & Mary Ann Bernardi (Joint Acct.)

Mary Ann Bernardi (IRA Acct.)

Noreen Betten & Paul Betten (Joint Acct.)

Gerald T. Bird & Kristine I. Bird (Joint Acct.)

Markus Blechner

Anthony D. Bogus & Margaret L. Bogus (Trust Acct.)
Jeffrey J. Bradt

Timothy K. Brady

Dwight G. Brainard (Individual Acct.)

Dwight G. Brainard & Gwendolyn H. Brainard (Joint Acct.)
Eric S. Braley (Roth IRA Acct.)

Marco L. Brew

Robert Browder

Iva H. Brown (Individual Acct.)

Iva H. Brown (Trust Acct.)

Kevin Brown (IRA Acct.)

Garth R. Budlong

Jean M. Buescher & Robert E. Buescher (Deceased) (Joint Acct.)
Robert Calamari (Trust Acct.)

Angela Cappiello & Augustino Cappiello (Joint Acct.)
Henreitte Clapp & John R. Clapp (Joint Acct.)

John R. Clapp (Individual Acct.)

CNN Investment Co., Inc.

Burton Cohen & Tess Cohen (Trust Acct.)

Linda R. Collings

Stanley Compton

John J. Connolly

Beverly J. Cosper (Individual Acct.)

Beverly J. Cosper & Bruce R. Cosper (Joint Acct.)
Case 1:01-cv-10640-SAS Document 40 Filed 12/04/09 Page 15 of 30

Mary Crehan

Daniel L. Curtis

Anthony D'Agostino & Rose D'Agostino (Deceased) (Joint Acct.)
George Darwin (Individual Acct.)

George Darwin, Viola D. Darwin, Jeffrey Darwin & Diana Leboeuf (Joint Acct.)
George Darwin & Viola D. Darwin (Joint Acct.)
Melody F. Davenport

Louis Debole & Mary Debole (Joint Acct.)

Dwane L. Decker (Deceased) & Verma Decker (Joint Acct.)
Glenn P. Deltondo & Maria R. Deltondo (Joint Acct.)
Irmgard Dern

Jerry L. Dieball (IRA Acct.)

Jerry L. Dieball & Karen L. Dieball (Joint Acct.)
Louis A. Diller (IRA Acct.)

Richard T. Dolbeare

Arthur J. Domingue, Jr. TRA Acct.)

Dale L. Doucet & Evelyn J. Doucet (Joint Acct.)
Iraida M. Echeandia

Nancy K. Edenfield (IRA Acct.)

Sylvia M. Edney (Roth IRA Acct.)

Arthur T. Elgin III

Donald F. Enckson, Sr. (Deceased) (IRA Acct.)
Michael J. Fealy IRA Acct.)

Michael A. Fiorenzo

Douglas C. Flegal (SEP-IRA Acct.)

Daun A. Fondarella & Pat J. Fondarella (Joint Acct.)
Jan A. Fulks (Deceased)

George Galvan & Gloria D. Galvan (Joint Acct.)
Gary Nibbelink Associates

John R. Gingles (IRA Acct.)

Miu-Chu W. Gong & Phillip S. Gong (Joint Acct.)
Good Shepherd Church (Operations Acct.)

Good Shepherd Church (Building Fund Acct.)

Ruby T. Gregory

Despina Hatton & John O. Swendseid (Joint Acct.)
Ame E. Heikkila (Deceased)

Carrie L. Higo & Paul H. Higo (Joint Acct.)

Mildred A. Howard & Nelson Howard (Joint Acct.)
Jung-Hsin Hu & Danny T. Tsao (Joint Acct.)
Elizabeth J. Janiszewski (Roth IRA Acct.)

Raymond G. Jarisch

Mary N. Johnson & Russell L. Johnson (Joint Acct.)
Kevin L. Jones

K & A Mulzer Enterprises LP

Jon Kayyem (Individual Acct.)

Judith W. Kielhofer & Kary D. Kielhofer (Joint Acct.)
Case 1:01-cv-10640-SAS Document 40 Filed 12/04/09 Page 16 of 30

Bridie Kilduff

Donald A. Kissell (RA Acct.)

R.J. Kleve (Deceased)

Koch Equity Holdings Inc.

John Kong

Carr C. Kreuger II (Individual Acct.)

Carr C. Kreuger II & Lori L. Krueger (Joint Acct.)
Betty L. Kruchten & Joseph L. Kruchten (Joint Acct.)
Joseph L. Kruchten (Individual Acct.)

Barbara Lawton & Howard E. Lawton (Trust Acct.)
Loreen E. Lejeune & Jonathan H. Wenocur (Joint Acct.)
Deeann M. Limp & Wayne E. Limp (Joint Acct.)
Aloysius W. Little & Virginia C. Little (Trust Acct.)
Gregory T. Little & Virginia C. Little (Joint Acct.)
Tom R. Loffland (Individual Acct.)

Tom R. Loffland (Trust Acct. 1)

Tom R. Loffland (Trust Acct. 2)

George E. Loomis

Arthur F. Luetke

Michael R. Lufrano

Jennings M. Lyon

Domenica M. Macerata

Minh T. Mai (Individual Acct.)

Minh T. Mai (Roth IRA Acct.)

Edward Makarchuk

Thomas G. Mansfield

Curtis E. Marc, Jr.

Larry Matthews

Laverne McCombs & Robert L. McCombs (Joint Acct.)
Mildred E. McLemore & Robert W. McLemore (Joint Acct.)
Robert W. McLemore (IRA Acct.)

Virginia M. McNear

Robert E. Megill (IRA Acct.)

Gail P. Miller & Richard J. Miller (Trust Acct.)
Lenore Miller

Yaichiro Minami (IRA Acct.)

Yaichiro Minami (Trust Acct.)

John T. Mitchell

James M. Monger & Lucille M. Monger (Trust Acct.)
Pamela A. Moore

Andrea H. Mulzer

Kenneth D. Mulzer, Sr. (IRA Acct.)

Kristin J. Mulzer (Individual Acct.)

Kristin J. Mulzer IRA Acct.)

Billy Murphy

Marilyn A. Murrow (IRA Acct.)
Case 1:01-cv-10640-SAS Document 40 Filed 12/04/09 Page 17 of 30

John A. Newton III (IRA Acct.)

Alice B. Newton (IRA Acct.)

Gary D. Nibbelink (Individual Acct.)

Gary D. Nibbelink & Linda A. Nibbelink (Joint Acct.)
Gary D. Nibbelink & Linda A. Nibbelink (Profit Sharing Acct.)
Linda A. Nibbelink (Individual Acct.)

Anne M. Noonan

Talila G. O'Higgins

Bruce A. Paige & Donna H. Paige (Joint Acct.)
James M. Parker

David B. Pedersen & Diane S. Pedersen (Joint Acct.)
Diane S. Pedersen (Individual Acct.)

Clara E. Perrin & Clayton J. Perrin (Trust Acct.)
Eusibius Peters

William B. Pettinger (Deceased)

Charles R. Platt

Eugene F. Pleyvak

John A. Primeau (Deceased) & Suzanne C. Primeau (Joint Acct.)
Barbara P. Radebaugh

M. Rangaraj (401K Acct.)

Boyce A. Ray (Individual Acct.)

Boyce A. Ray (IRA Acct.)

James R. Reitnauer

Mark R. Rizzo

Griffen A. Rizzo (Custodial Acct.)

Lester Rose (Trust Acct.)

Dorothy D. Rupel (Trust Acct.)

Sterling M. Ryder

Valerie A. Saines

Patricia G. Salisbury (IRA Acct.)

Evan C. Santistevan

Barbara V. Schugt & H. Dieter Schugt (Joint Acct.)
Ingeborg Schuster

Nancy A. Scott (Roth IRA Acct.)

Bonnie N. Shimasaki & Robert K. Shimasaki (Joint Acct.)
Albin J. Sircely

James P. Slupe

Barton L. Small & Catherine E. Small (Trust Acct.)
Barbara J. Smith (Individual Acct.)

Barbara J. Smith & Thomas F. Smith (Trust Acct.)
Brenda J. Smith & Nathan J. Smith (Joint Acct.)
Frances Smith (Trust Acct.)

James Smith (Deceased) (IRA Acct.)

Thomas F. Smith (Individual Acct.)

Raymond W. Sperring, Jr. (IRA Acct.)

Raymond W. Sperring III
Case 1:01-cv-10640-SAS Document 40 Filed 12/04/09 Page 18 of 30

Steven P. Stachwick

Marc G. Stalker & Salena W. Stalker (Joint Acct.)
Marlies Starbird

Patricia S. Steele (Individual Acct.)

Sue Steele (IRA Acct.)

Morgan Stewart

W.J. Sturm (IRA Acct.)

Eric M. Talgo (Individual Acct.)

Eric M. Talgo & Lynda Talgo (Joint Acct.)
Delena R. Tanner

Richard A. Taylor (IRA Acct.)

Mary T. Thayer

Bjorn C. Tollerud & Bjorn E. Tollerud (Joint Acct.)
Bjom E. Tollerud (Individual Acct.)

Turner Broadcasting System, Inc.

Irwin Usher (Deceased)

Jeffrey D. Van Gundy

Deborah A. Verginia & Michael D. Verginia (Joint Acct.)
Ava N. Walker (Individual Acct.)

Ava N. Walker (IRA Acct.)

J.W. Walker (IRA Acct.)

Jonathan H. Wenocur (Individual Acct.)

David E. West

Tony R. Whisenant

Ralph Whited

David A. Windecker (IRA Acct.)

Windecker Family Trust

Mona M. Wolf

Charles Wright, Jr. & Frances L. Wright (Joint Acct.)
Michelle D. Wright

John C. Yancy (401K Acct.)

Arlene Yannece & Ralph Yannece (Joint Acct.)
Youth Help Association Inc.

George E. Zeigler

Farida K. Zreik
Case 1:01-cv-10640-SAS Document 40 Filed 12/04/09 Page 19 of 30

Z uqiuxy
Case 1:01-cv-10640-SAS Document 40 Filed 12/04/09 Page 20 of 30

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

DOD Jo uoHvoojl] Vv

 

 

 

(P36 1889) (SE8TEP7$) (LU6¢S°€$) (lr ZS7F1$) 76'SOLEDES ONI SAIDOIONHOAL ANITNOLLOG
(6€°11F°L8T$) (OP ETL‘IS$) (00'008$) (Ir TOE OES) Zr'S69'SP9S ADO'IONHOAL WVHIOO8
(€9 CPL ELES) (€3°ZL8°COT$) (00'0S2$) (6b'997'‘09$) EO P77 P87 ITS ONI RUVAMLAOS INLLYVA 31d
(ss9S0'SLe$) (pr TIS‘EOT$) (ZE'97SS) (1909098) 97 961 ‘767TS$ ONI Agus FA
(O6°L8FEI7$) (67'076'8S$) (OO'S19° TTS) (9S LIS‘FES) OS LES‘SELS$ SHIDO IONHOSL Fah NOV
(T8°LEE06L$) (Or ¥Z1°817$) (00°000°01$) (16'P8L°L71$) ST 086 CZL‘T$ ONI SWALSAS IOIAV
(LO LET POSS) (EC ETL'SSTS) (EE CEE ES) (S1°8C7'16$) 10°686°€b6'T$ ONI V ANNAUAV
(IZ PLOLS$) (TS*T€0'b7$) 00'0$ (OS 8L0°FT$) 00°000‘00E$ ONI OD LNVAV
(€6'160°€60'Z$) (Z1'0L9°LLS$) CAVE8L°71$) (6Z'61F'8EES) €y LOM TIZLS duOO XANVAV
(65°796SSP$) (19°0r8‘SZT$) 00'0$ (18 1ZL°EL$) S8' PPE OLS ‘IS ONI WOO sa MOLAV
(CLZLESPES) (00° LP1‘96$) (00°S28°1$) (LT 9ZE9S$) ES 19T‘O0T TS ONI WOO’ TEALAPOLNV
(PE 69E'97Z$) (Zr SLY TIS) 00°0$ (87'009°9€$) IL'S16‘6LL$ ONI ATEIGNV
(87'690°0 FT $) (O6'LLE‘OES) 00'0$ (er 962419) 08 STT6LES$ ONI SWALSAS TVOIGAW LOadSV
(68°L59°696$) (18'P19°L97$) (00°60£°6$) (80°8LL°9S1$) Of S6L‘OPE'ES ONI SHARE ASV
(OP PTS *ESL$) (LE°P96‘L07$) (00'00+F'Z$) (LL ZE8'171$) ¥9'SPL‘96S‘7$ SONICTIOH OANIVISV
(b6°LLZ‘10T$) (69 1S6°L7$) (00°r69°S$) (10'SLE91$) b9 96 BHES ONI WOO CuOJHSV
(61 98ELIF TS) (C8781 L6€$) (8¢°109°7$) (S891 67Z$) PE ELE ESBS ONI Varev
(P8°8£6'C0Z$) (€8°9€8°9S$) (6L'S1€$) (00'L6Z°EC$) CL’87S60L$ ONI ADO'TONHOAL SOdOUdV
(SL°SL6°8L7$) (12'766°9L$) (00°S62°T$) (68°SOT‘SP$) ES SOL196$ ONI SOINADLLNV
CZ PL0°L8$) (1S 1£0'P7$) 00°0$ (OS '8L0°FT$) 00°000‘00€$ ONI ANIINO AOTIV
(ZL'PL9'S87$) (SO €F8‘8L$) (00°000°0T$) (10°68 9¢$) yh Sve P86$ SONIG'IOH SOd VSONV TV
(97 196'FE9'b$) (78° L616L7'1$) (00°002'8$) (L9°86€ 6PLS) 67 700°696'S TS ONI SAIDOTIONHOAL IVAVAIV
(Tr ess"lizg$) (61'69F'8S$) (00'zS6'€$) (62° €S7'F ES) €b'906°6ZL$ ONI SHMOMLAN NVdSUIV
(80°896‘SEr$) (S€7ZEOZTS) (00'002'T$) (Z0'68r‘0L$) pO'LSO‘COS‘T$ duOO SNOILVOINNWANOD LANYIV
(1Z'PLO°L8$) (Is TE0FZ$) (00° €£6°1$) (OS'8L0°FT$) 00°000‘00€$ SOd ALVDUIV
(SO'6EF60S$) (Z$'66S OFI$) (0S ZL6°9$) (COL'S9€'78$) TE681'SSLIS ONI SHIDO IONHOSL LNATIDV
C12 PLOL8$) (1S TEO'PeS) 00°0$ (OS 8L0°F I$) 00'000‘00¢$ ddiOO RUVMLAIOS AMOV
(Cr L98°8EL$) (0Z'616°€0Z$) (6L°06T 1) (86°29 61S) EV LEIS HSCS CLIWOO' AONADV
(r6'6P9'F 19$) (9¢°9€9°69 I$) (Ce €89'F1$) (10°6L£°66$) OF OL9LIT ‘TS ONI SWALSAS YAHLIV
(OZ PS7'817Z$) (PL'S€7‘09$) (OS S16EI$) (61° 887'°SE$) TE 6S61SL$ ONI SHONAIOSOIA VUV IOV
(PL BEE OFES) (1L'676°€6$) (OS P9T'8$) (O€LZO'SS$) OL'I8S‘ZLI'I$ ONI SHYMOMLAIN GALVUITIIOV
(€2'OF6'98S$) (86'886'°L9T$) (00° TZ0°7$) (61868 F6$) 86'°907°7Z0'T$ ONI SNOLLNTIOS #74

(OS6°F80‘0LTS (96°9SS‘Ih6OPS 18101) | (SO'CES‘COE'IS 12101) | (000‘OOS‘LZS 1801) | UONBUsIseq [B01 danssj
[830.,,) saa,q Jo uoIBIO]TW | sasuedxy Jo uOTEDOITV SplsMY VUISd sasuedxy

 

NOILVOLUT SAILIMN OAS ONINAALO OITENd TVILINI 4a NI

(SVS) 76 OW IZ ‘ON NOLLOV TIAIO

@ LIQTAXa

 
Case 1:01-cv-10640-SAS Document 40 Filed 12/04/09 Page 21 of 30

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

(88°ZOTOTTS) (L9°6S0°C£$) 00°0$ (LO T8L'8E$) 1€'0ZZ‘00r$ duOO NUNLaAU VLVG
(£7689 0FT$) ($9'8Z8°SES) (o0"sz9°Z$) (6ULPL C$) 86 IZL'P8h$ ONI SHIDO TONHOSL NIA TVa
(26° ECOLIT$) (OC L67' TES) (6L'SL5°8$) (68°026'81$) LS‘98T EOS duOD JOUNOSUAGAD
(6F C160S8'T$) (9S Tes‘OIs$) (oo 0S €°1$) (€6°797 667$) £0 1ZO'LLE9$ ONI HLVd TVOLLEIO
(L6'088°869°7$) (LI 198'rr2$) {L9°99¢'01$) (c9'S9C9EP$) £6 VSS "867 6$ ONI dNOUD SNOLLVOINNWIWOOD GVAOO
(6$'098°989$) (68°S9$ 681) (00°006°L$) Ce RSOLITS) EL 99P99E'TS$ ONI SNOLLYOINNWINOO ANISOO
(6p PLL0L0°7$) (OL OLS 1z¢$) (EEE89'0ES) (76 OL8'PEES) TE 91S PELL ddOO SIAYOO
(969 E09T$) (86 €S¢'Fr$) (ST'7Z0'€$) (Z8'$76'S7$) SE Grr ZSS$ ONI OFWOO
(LES9G6‘EZT I$) (06'008‘LEE$) 00'0$ ('S68°L618) 80°FL6°917 b$ ONI SHYOMLAN NIVINNOW wWaddOo
(p8'8S€Lb7$) (62897 89$) (OL LIES) (P6'€66'°6£$) 19'pEz‘ZS8$ ONI SAIDOIONHOSL UNDNOD
(TL '6rs‘ss1$) (£3626 TPS) 00'0$ (6L6F I S7$) TL 616'SESS$ CLT FUVMLAOS HONOLWNOD
(86 6FO'SOE'E$) (SOLS L'T16$) (Ce CEC ES) (Ir €LeFes$) pS TIOLSELIS ONI ANO AOUAWINOD
(EL LOZ br8$) (6L'166°7EZ$) (ps 1€8°1$) (iL P6P9ET$) 61'8L5°806'°7$ ONI SNMOMLAN LTVAOD
(BE L8P‘SrS$) (OP 8bs‘0STS) CLU198°1$) (€5°961'88$) 96° L8E6L8'I1$ (SIAVG-ddIZ) SYYOMLAN LAND
(12° PL0L8$) (IS 1€0'r7$) 00'0$ (0 '8L0°F1$) 00°000‘00E$ ONI SOWANWOO NOD
(SS TE7‘C9Z$) (00 ELETLE) (OS €£b'S$) (79 86€ Cr$) ZI 9LPE06$ duOO LNAAV1O
(SS TPL ELZS) (06'6rS‘SL$) (00°000°T$) (LL 6S7'bb$) LESELEv6$ ONI SUVMLIOS LNVITUOHD
(LO 7pB°L91$) (89°7Z£‘Or$) (OF 81F'9$) (pr LELLZ$) VO PLT SLSF SNOLLVOINNWINOD JNO ADIOHD
(€8°€18°980'1$) ($S°846'°667$) (00'0r1T13) (TE'OZL‘SLT$) Ol OrrrrL ‘es duoo WOO'VNIHO
(TE S6EEZTS) (95°9S0'FE$) (00°000°0T$) (ZS 186619) 6L 8PlS7r$ DANW YUOLONGNOOINAS AIYALUVHO
(L7°895'17@2$) (8C'OS L‘19$) (OS €169) (ZO'Pz8‘S ES) BELLEEOLS ONI FUVALAOS VULLNAD
(pO BPS ILLES) (og ers‘Z01$) (00°000°2$) (Pr'€L0°09$) EL OL O8Z'1$ TVNOLLVNUYSLNI | waRRivo
(€Z'B6L'SLE$) (OV prs 01S) 00'0$ (9'SPZ‘19$) €9 LBO‘SOEIS duOd ANIGANL ANOLSAVO
(12 PLO'LS$) (1S T€0F7$) (00'000°01$) (0S 8L0°F1$) 00°000‘00€$ duOd SAIDOIONHOAL WAdITVO
(9€ 10r'F19$) (S6°L96‘691$) (LE-8L7°7$) (18° 8£E66$) €8°618 911 ‘7$ ONI SOUWANINOD OOITVO
(91 19€°961$) (OS E61 PS$) (00° ZEL‘Z$) (br 8PL1¢$) TP 0£S‘9L9$ ONI SAALSAS VUAATVO
(80° €S6 ‘OES TS) (0975 ‘C7P$) (0°696°6$) (BP OCS‘Lrz$) LS 6P9'PLZ'S$ ONI MOTISHOVO
(19° 96L'76r$) (6€°900°9€1$) (00'0$7'9T$) (R7°LL9°6L$) Lv'0S8°L69'1$ ONI WOO’ ANG
(ZE'098brES) (ZH'LLI'S6$) (00°000°71$) (9E'BSL'SSS) 90091 ‘8811S quod AUVNOSA
(Lo evs ‘O1l$) (ZL'80S‘0€$) (00001 ‘Z1$) {L0°€L8°L1$) $8°8S8'08E$ ONI SAS WNOO AGVOOUd
(v6 C97 LIES) (ZE196°L8$) (83°¢09$) (8967 1S$) ST 80°60 I$ ONI SNOILLN TOS AVMVAVAUE
(1Z'rL0°L89) (TS'T£0'bZ$) (00°00 I$) (OS 8L0‘F1$) 00'000‘00€$ ONI ONILINSNOO NOVUd

(Os6‘'r80‘0LIS (96°9SS‘Tr6‘ors 1810.1) | (So°ces‘cOc TS (e101) | (000‘O0S*LZS [2I0L) | UOBUsIse [EO], 4onss]
[¥}0],) saaqy JO UOIZBIO];y | sasuedxy Jo uoNBIO];y SPpABMY VUTSd sosuedxy

DOD Jo uoyes0[y

 

NOILVOLLIT SHILIMNOYS ONTATAAO OITEN d TVILINI FY NI

(SVS) 76 OW IZ ON NOLLOV ‘IIAIO

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Case 1:01-cv-10640-SAS Document 40 Filed 12/04/09 Page 22 of 30

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

DOD Jo UoHBIO/[V

 

 

(TP 90€LS¢$) (09°719°86$) (88'€S8'r$) (OL'OLL‘LS$) SO'TPOTEZ IS ONI LOSRVARIVA
(7 PL0'L8$) (1S 1€0'rz$) (98 r8P'L$) (OS'8L0°F I$) 00'000°00E$ ONI SYYOMLAN SA
(6L'0L7'8L¢$) (FS 86E POTS) (00°00¢$) (Of'09119$) Lp OLZ'E0€E TS ONI SYUOMLIN AWTULXA
(sr 198"Scrs) (OL Z18‘SZ1$) 00°0$ (Ly SOL‘eLs) 0S'°96S‘OLS'T$ ONI ALISNALXS
(76 0SZ'OI¥$) (OL PEZ‘ET I$) (0S 769°€$) (L6'0££'99$) SLUSH EIP IS ONI VIGEdXa
(80081 ‘9rT$) (80' Pre ‘OrS) 00'0$ (L6'PE9"€7$) L9'6E9E0S$ OAXa
(S1'SS1‘LOT$) (£9°€L$67$) (000113) (97 SZELIS) 79 S8L‘69E$ ONI SNOLLVOIIdd¥ SJDNVHOX4A
(Z'PLo°Lg$) $1 €0'"7$) (ST IL9'¢$) (O$'8L0°F1$) 00'000°00€$ ONI TUVALAIOS SA TIOAT
(96°9L6'°797 €$) (OF SPS°0069) (00°Z16'r$) (88'OLS°L7S$) O8'SSOTHZ TIS ONI SAOLA
(re Ler‘sZ$) (87619FES) (00°0S2°€$) (81°187'07$) BS ELL ‘TEKS ONI XININOA
(re €96'L689) (16°689'LF7$) (00 r0T0T$) (8¢°SOLSH1$) 08°€90°7%60‘E$ ONI SAIDOTONHOSL ADVONA
(ev LE9°L81$) (S3'S8L1S$) (88'L66°7$) (S6°LEE OES) 7 PLP Ov9$ ONI LNANOO TA
(ZZ'8£0'F9C$) CS‘ OLF00T$) (6L°S1€$) (ZE6E8'8S$) Ip vet rS7 1G ONI NVOT-9
(LS'PE7 B8ES) (L9'SPI“LOT$) (00°000°4$) (L9°69L°C9$) SS POS LEC TS duOO TVNOLLVNUSLNI OILIS Td
(Z0'090°L¢7$) (Z3°S81°89$) (33° €Or 19) {£9 S+6‘6E$) 80°S07 IS8$ SNOLLVOINNWWOO NIVDA
(L660 687$) (8S'PLL‘6LS) 00°0$ (EL PEL Org) 6S PL8‘S66$ ONI XNAGT
(OS 'S08'P7Pr$) (09 1P2L11$) (08 r£6'I$) (1Z'r89°89$) LV86S°€9h'1$ ONI EAM LUVS
(OS LEE FRZS) (ZS'Pey'L9$) 00°0$ (6% S0S°6E$) 119781 p8$ ONI ANWHdld‘d
(9L'0S7'19S$) (86'868'FS1$) (00°000°s$) (27'S +L'06$) O1'869'EE6 TS ONI WOO auOLSONYa
(SS 66F 0LE$) (OL ESz‘COI$) (6L°S90°F1$) {Z8°£06'6S$) LES6P9LT IS ONI WOO dOOMUG
(re ISL°9r7$) (9°001°89$) (00'06'FT$) ($L'S68'6€$) 97 THI ‘OS8$ ONI MOITOUTANOd
(99°8£6'998$) (pr'S97'6E7$) (OS LET LS) (€0°0LT‘Or1$) 00'°968°986'°7$ VSUAAIC
(€L°998°€7Z$) (EL P8L‘19$) {00°000°ST$) ($9°S61°9€$) OE 967 ILL ONI SVLIDIA
(97'68L'°891$) (96°€8S°9F$) (0S°960°€$) (1$°067°L2$) 16'SES‘T8S$ ONI NNIHLTVLIOId
(1Z'PL0°L8$) (1S 1€0°Fz$) (OS S9€'8$) (OS'8L0'FI$) 00°000‘00€$ ONI USATY TH LISI
(98°'ZS0'Crz$) (06°€08°99$) (ZE9T0°8$) (S0'9€1 GES) ZL ES6 CESS ONI GNVISI TVLIOIC
($6'6£8'861$) (79 LL8‘¢S$) (88'€09$) (22 6F'ZE$) 99'0L0°S89$ duOd LHDISNI TVLIDIG
(ST 9IP eSP$) (€B°LEESZ1$) 00°0$ (OVOLEELS) ZI TLV ISS ONI LOVdWI TVLIDIA
(08'000'89¢$) (cr P9s‘TOT$) (00°000°S$) (18°66¥'6S$) €8°988°L97 I$ duiOO DUVWIDIA
(CL Orr'srz$) (ZL'996°89$) (00°002'S$) (LL'891OF$) 10°096'SS8$ ONI WOO FaaHLV LTC
(LULP6 tres) (S6'LP9'F6$) (0S 726'€$) (LO'8rr'ss$) LOLYSTSTTS duOO ADOTONHOAL ONV TAG
(00°60€'062$) (90°7Z1‘08$) 00'0$ (62°8£6 9r$) 6° C1Z 0001S SOLLANAD AACOOAA

(0S6‘P80°0L1$ (96°9SS'THE'9OFS IBIOL) | (SO'CES‘COE'TS 18301) | (000°00S‘LZ$ [8101) | UOHBUsISEg [BIOL Janss]
[#}0.L) $804 Jo uOKeIO][Y | sasuedxy Jo UO}¥DOTTY Sp1luMVY VWH1Sd sasuedx]

 

(SVS) %6 OW IZ ON NOLLOV TIAIO

NOILVDILT SHILIENOAS ONIATAAO OITIAd TVLLINI FY NI

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Case 1:01-cv-10640-SAS Document 40 Filed 12/04/09 Page 23 of 30

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

(06° 17L‘87Z$) (OL rZ1°€9$) (00°002'S$) ($9'086'°9¢$) LO'vZ0'88L$ SUCTOH AUNLONULSVUANI LANYALNI
(PL 0OL*EFO'TS) (13°60'887$) (67997 1 1$) (29 6L‘89T$) $6'006'S6S"E$ ONI dNOUD TVLIdVO LANUALNI
(SECLO‘T9F'IS) (SP 66h COPS) (00'000°S$) (PO P8E9E7$) P6 8ZI'LEO'SS ddOO SADIAUAS MUOMLAN dVNUALNI
(19°8627L6$) (pe €S8°97$) (00'0SL°€$) (79 TeL*ST$) TS '9CZSEES ONI SSAUXA WOOATAL GALVUDALNI
(Ss'61810T$) (90° 1OL‘8Z$) (os zsz7's$) (gs-79r'91$) L9'ZO8‘OS ES SWALSAS NOILVWUOANI CALVYDALNI
(SE 107 767$) (LE961'18$) CLV PS$) (£9 L9S‘Lb$) 96° TZN ELO'IS ddiOO daMSNi
(O9'ZLI'8S€$) (99°T$8°86$) (00°096'1$) (SL'0I16‘LS$) LESTO'PET IS duOO SHIDO TIONHOSL JONVUNI
(€L'9ZE9LT$) (729989) (00°707'1$) (6160S ‘87$) Z0°S0S‘L09$ duyOO ALYOANI
(TZ PL0°L8$) (TS'1€0'bZ$) (OS L61'9$) (os'820'FT$) 00°000‘00€$ ONI XVAROANI
(IZ PL0°L8$) (IS TeO'rZ$) 00°0$ (0$°8L0'F1$) 00°000‘00¢€$ dadOO VOLLVWUOANI
(Lp 6rL TSE$) (26 pS E°L6$) (00° €08°L$) (06 €€0°Ls$) SO OPE SIZIS SSRIOMLYIN UAE LVS
(17 PL0°L8$) (TSF €0'"Z$) (oo'ser'1g) (OS 8L0°F1$) 00°000°00€$ duiOO NOISUANWI
(SL 1P7'€91$) (Z6'7S0'S¢$) (00°599$) (LE E6£°97$) L67ZP79S$ ONI SOVNVAI
(26167 OPTS) (106 1L‘8€$) (6L'S1€$) ($6°789°C7$) LOZSEESHS duOO ONLLSVOCVOUd NVA
(SO'POL*LIL$) (S€°8L0°861$) (g8'c0s"1$) (0Z'140°9TT$) SyCELCLY'CS$ ONI SISVAI
(OP Lr F119) (79851 £$) 00°0$ (PU 88r'st$) bP'S96'C6E$ ONI SYAAOOH
(O@ Srl PSS) (€O'6EE'SZIS) (00 0z¢'7$) (L6°L7P'EL$) EL ESN HIS IS duOO SSAOOV AaadS HDIH
(1Z'PLO'L8$) (TS 1€0°rZ$) (0S 168°6$) (OS'8L0‘F1$) 00°000‘00€$ ONI DNIYdSANVH
(LO'Sér16Z$) (go°ocr‘o8$) (00'000°S$) (PL SLT LPS) I9'LSOHOO'TS WOOUTAL dNOwd LO
(8T-99%'S9T$) (€8'999'¢r$) (00°008"8$) (ZZ €SL‘97$) 8L'980°0LS$ ONI SNOLLVOINNWAOO ora)
(TL'8E7'8S7$) (TO 1LZ‘1L9) (6L°S LES) (yo'eselr9$) 1p'61L'688$ INI WO9'0LOD
(18°SL7°917$) (ZL'689°6S$) (00°0SLS) (Z£°896'FES) 60° EPI SPL ONI NVdSAadOTD
(97 669'€1L'€$) (pL 6E6'FZ0' TS) (COTSIESSTS) (tr srr‘009$) 80°96 P6L'TIS ONISSOUD TVAOTD
(P9°€L00FL‘Z$) (68°62Z 968) {00°70 1S) (Z3'SZ0'EPrS) oS LLY Obr'6s VIGAWVDID
(O1'628°C60'1$) (6279 10€$) (00°S£8°9$) (L6'00L'9L1$) BE 9EE SOLES ONI SHUOMLYIN XOOZAVD
(LUS67'CSE°7Z$) (Z1'S0%rOL$) (L9'97L'I$) {L0°S99°T1P$) OP'LIS‘E6L'8$ ONI SLASUVAN a
(S8°C6E TILES) (Le'6LS FZ0'1$) (L€°690°T$) (9£' PEZ'009$) 7S BrP'06L ‘TIS ONI SNYOMLIN AYGNNOA
(Z6' P97 E07$) (98°860°9S$) 00°0$ (L9'P98°TES) OT 9TEOOLS duOd SNOLLVOINNWWOD TVO0d
(670971 C$) (SE7EL‘98S) CULE IS) (€8'O18'0S$) 99° TEL*T801$ ONI SNOLLVOINQWWOO LANHSV 14
(Ir ell eLe$) (09°6960F7$) (00°096°L$) (6891 TFI$) 80'OLT'800'E$ ONI GNOdRUA
(LE6LL'EZES) (1S '6SE°689) (LV'6L$) (16°6PE TSS) 60°67S‘STI‘I$ duOO UVSINIA
(19°8#8°607$) (63°ST6°LS$) (ZE9LLT$) (P1'626'°CE$) £7666 TCLS WOO 'NIVUALVA

(OS6‘P80°OLTS (96°9SS‘TP69PS 18301) | (SO'EES‘COCTS HIOL) | (000‘00S'ZZ$ 18I0.L) | UONeUISaq [BIO], Janss]
1830.1) S99q Jo UOIZBIOI;V | Sasuodxy Jo UOHBIOI[Y SpleMY VYISd sosuedxy

NOD Jo uonwooy

 

(SVS) 76 OW IZ ‘(ON NOILOV ‘IIAIO

NOILVOLUT SHILIAN OAS ONTAAAAO OFTEN d ‘TVLLINI YY NI

 

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Case 1:01-cv-10640-SAS Document 40 Filed 12/04/09 Page 24 of 30

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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(E5068 LSPS) (LLOIL PZI1$) (OS ¥6S°L$) (EP €90°EL$) ETSIEOSS IS duod WOO 'aaIVOW
(81°796°00£$) (Z2'Z90°€8$) 00°0$ (PL'099'8r$) LV'9169E0T$ ONI NSDAXVAL
(ZZ'88°609$) (pC TLES9T$) (00° SOL*r$) ($9°Z0986$) SLZEVIOUZS ONI ANOXTYLVA
(81° 6E0°LTE$) (67 66¢°L8$) (OS LEZ$) (rl 0971S$) $3°90€'760'T$ CLT dNOUD ADO'IONHOAL TIGAUVN
(86°029'68T$) (87 ELE TSH) (LE 116°@$) (99°859‘0€$) OT BOEESIS DONIAIT LUVWMSLLS VHLUVN
(£7 SPB'PZ9$) (pEOSPCLTS) (Or'L92'¢$) (tt LZ0°10T$) 6h 7087S‘ ONI WOO HOLVM.LASYVA
(92°F 19'FZL$) (6¢'$86°661$) (9€'1F6' TTS) (Le SSTLI1$) EP OPS ‘96h 7S ONI VEWIVAN
(GE°€69°78T1$) (SC 1cr‘OS$) (00° TESS) (go°8tS‘6z$) Le‘Orb679$ CLT SAOIAMSS SURUNLOVANNVIN
(89°88S°1S7$) (89°S€b69$) (00°9S8"r$) (3°LL9'0F$) ¥8°L08°998$ ONI SAIDOTONHOAL FATANOT
(ZL'600°9E€$) (S6'PEL‘76$) (OS 'Z8S‘91$) (LELZE‘S$) LLOOOLSIIS GLT LUVWSXOOT
(OF 00° SSP$) (85088719) (ZE97S$) (8r69S°EL$) 1L'869°L9S'I$ ONI OIGNV GINO
(1Z'PLO'L8$) (TS 1€0'r7$) 00°0$ (OS 8L0'r I$) 00°000‘00€$ SHIDO TONHOSL JADGMIGNOTT
(TZ PLO'L8$) (1S 1€0'F7$) (0¢'168°6$) (og '8L0'r1$) 00°000‘00€$ SAIDOTONHOAL ALVUAAIT
(1Z'PL0°L8$) (I$ T£0'vz$) 00°0$ (0S'8L0'F1$) 00°000‘00€$ ONI LNEXAT
(1Z'PL0°L8$) (1S 1€0'FZ$) 00'0$ (OS 8L0°F I$) 00'000‘00€$ ONI SNOLLVOINNWAOO SCALILV1
OOV'8Sr ECCS) (SL'0€0°76$) {ce E£E°9$) (Z3'P16'ES$) 6L'SLE'8PL IS dd00 FLNVI
(SO'ZP8°9LE TS) (11°£66°6L€$) (SP SSC'ES) (IZE19°T7Z$) 80°S89°EbL b$ LINOQUHL VION
(L7'1§6'69Z$) (SS €0S*PLG) 00°0$ (8L'9"9"'Er$) ST ELOOE6S$ ONI SWALLSAS ALONATH
(68°98L'°692$) (€9° SHI Z$) (ZE19L'FTS) (SE79P 719) LESLITS9'7$ AYVALIOS VNVA
(90°€09°L9L$) (Z6'6r8'117$) (09°96101$) (90601 ‘PZ1$) vE'LS9PH9‘?S SNUOMILIN WAdINNAL
(LLTS9°ST ZS) (6P'LIS‘6S$) GQUTITT$) (ty L98FE$) S0°€66 ZHL$ dadOo INL
(LL’681°S6L$) (pS €9¢'617$) (00°000°1$) (6€'695'8Z1$) L8°969'6EL‘7$ TALZZVI
(€L°6L1 TIPS) (EO'LSL°E1T$) (00'r¥9°7$) (€3'Z9°99$) €1°860°07H' I$ ONI SASTAdCUALNA TXI
{EZ LET SS6$) (6€ 0F9°€97$) (00°9%9'F$) (CL 6hE STS) ST ERE TEZ ES ONI SOVTTAI
(e878 1‘9Sr$) (OP 106°SZ1$) (os €SP'81$) (EP LEL‘EL$) 69 COL ‘ILS‘IS duo OXI
(1Z'PL0 L8$) (TS 1€0°P7$) 00'0$ (OS 8L0°r1$) 00°000‘00€$ ONT WOO LNTUd!
(r0'€9F‘OLT$) (06°S¥0°LF$) (Z¢°820°€$) (EV 19S‘£7$) €9°ZOE‘LES$ ONT TUVMVULNI
(68°9L1°L6$) (pL'618°97$) (LO'EL 179) (e'TIL‘ST$) LVLOS'PEES ONI NAAOMUALNI
($6'£98°66r$) (06°9S6°LET$) 00'0$ (96'°618'08$) p8'661'7ZL'1$ SNOLLVOINNWAOOS AAVAMUSELNI
(SL°856 0F8$) (L7'€60°CE£Z$) (00°6¢L'T$) (05°696°S£1$) br 98E°L68‘°7$ duOO SAIDOTONHOSL LSNULYALNI
(LLZZ£098$) (€o'6Ee LETS) (00°0¢0°9$) (SEO GETS) €0°ZO1P96'°7$ duOO TISUALNI
(88°LLS°L91$) (€9'6PC 9F$) CIE TEP IS) ($9'F60°L7$) LE'ZIELLSS NVdvVf SALLVILINI LANYALNI

(0S6‘P80‘0LTS (96°9SS‘Th6‘9b$ 1810.) | (SO’coS‘COE I$ 1810,L) | (000‘00S‘LZ$ 1810.) | uOEUBIseq [E01 Jonss]
}¥}0]) s99q Jo UOIBdO]|V | sasuadxy Jo UOn¥oOITV SpAvMY VUISd sosuadxy

 

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Case 1:01-cv-10640-SAS Document 40 Filed 12/04/09 Page 25 of 30

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

(1Z'PL0°L8$) (TS T€0'PZ$) (OS Z1¥'S$) (OS 8L0‘FT$) 00°000°00€$ duOO ANSINWO
(01°600‘801$) {T£'608‘6Z$) (6L°S1£$) (€£€9F'LTS) BLLTU‘ZLE$ ONI SNOLLVOINNNIWOD JONVNN
(ZE'8S8'°C6S'TS) (07 1196 E%$) (00'SL8°11$) (95 6ES'LSZ$) 86 EL6LEP'S$ daD SNOLLVOINNWWOO LNIOGHLYON
(€5°090°898$) (90°SLS‘6£7$) (6459S F$) (Zr ise‘orlg) 61'19L'066'7$ dvOO NIN
(82'€98°98¢$) (VOLL°90T$) (00°Z08$) ($9°6rS‘Z9$) BIOL8‘ZECTS ONI SUANLUVd TALXAN
(EZ 9OLE'LSS$) (S7'LESESTS) (79'89¢' ES) (6 PET 069) 85°€69'076'I$ ONI GQUVOLXIN
(LT LST‘6PE' TS) (ZO'O8E ZLE$) (LL 6ZEE$) (6 ES F817$) 17 969'8h9'p$ SNOLLVOINNWINOO THAR LXIN
(ZS 0SS°€6€$) (L5°S19°801$) (00'0Z1°%$) (6L0€9°E9$) TZ HIOSSETS ONI SNDOA MAN
(pL LL9OSZ8$) (83°LL8°L72$) (00'000°01$) (18°86r'££1$) 61 SEL‘ br8'7$ ONI OWAZLAIN
(9¢°006'60€$) (90°67S°S8$) (00'00$$) {06°SOT‘0S$) CT LILLOOTS duo SN'Td YYOMLIN
(1Z°S87‘0SZ$) (p6°SL0°69$) 00'0$ (60°L9¢‘0r$) b69TET98S ONI SANIONA SYOM.LAN
CeO TSH I$) (p7'090°1 €$) (SLLET9$) (LU961'81$) 98 EPL ‘L8Es ONI AA TOSLON
(1Z'PL0°L8$) (TS T€0°PZS) (0$'600°9$) (0S 8L0°FT$) 00°000‘00€$ (HOAL WOOISO) ONI NOOMTISLAN
Ce ZEeo Leg) (OV 18s‘FET$) 00'0$ (OL P8829) TL'LSO089'1$ daOO OUWLAN
(1Z'PLO'L8$) (Ts'T¢0'r7$) 00°0$ (0S°8L0°FT$) 00°000‘00€$ ONI SONILVULIN
(1Z'PL0°L8$) (1S TEO'PZ$) 00°0$ (0S '8L0°F1$) 00'000‘00¢$ ONI SAALLNAOLAN
(89 Cr preg) (1V'LS0°S6$) (LUSEEES) (ZLL89°Ss$) OL'SS9'O8TTS ONI ANOHdZLAN
(19 £0L ‘ZErS) (6€°17r 61 TS) (00°S66'1$) (17 196°69$) 78'608 06h'I$ ONI SNOILVOINQWINOD 0007.LAN
(ST LPO OCS) (9L°9L1°911$) 00'°0$ (OF'090'89$) OT SOEOSH TIS ONI SNOLLdUAOUAd LUN
(yU61S‘819$) (ir POL‘0LT$) (€E91S Z1$) (6¢° 00°001$) 66900 TEL TS ONI NOOO VNMOIOFN
(COE'SIF SEES) (06°0L6°26$) (00°0S9'T$) (97 1E2'PS$) O8'BI9SSTTS ONI SLLISIAVN
(00°608°CEE$) (65° 1$8'16$) (00'€8€°Z$) (98°608°ES$) 77 6E9 OFI'TS ONI WOO XALINN
(ZS L16‘¢rP'TS) (61 182‘86€$) CUTIE TS) (26°619°€E7Z$) SO'877'8L6‘b$ ONI WOO ed
(08°866°987$) (8807629) (OOS LES) {60 £0t'9F$) b9°L08°886$ ONI NOSAL dddOd ‘VIGSW WAGOW
(88'LEs'sses) (L6'98¢'901$) (6L'S1€$) (SL'E8E°Z9$) 6S IPE6ZETS ONI ANN.LOWOIN
(17 PL0°L8$) (IS 1€0'FZ$) (00'rr9°7$) (0S'8L0'°rT$) 00°000‘00€$ TdOO SNOLLVOINNNWOO JAVMVLIW
CL TE86ES$) (95°L86'8+T$) (00'SZr'1$) (OUZ8Z'L8$) S7Z06'6S8'I$ ONI ATOSVLENW
(6S €L1°797$) (OO'LEECL$) (05°L66'1$) (S7'68ECr$) €P 9L7'E06$ MATOH LANUALNI {7d HONAT TIRRIGN
(LO'9LS I PT$) (Zr €L0°6E$) (88°€09$) (LE'068°T7$) O€ LLL'L8r$ ONI AdVOSGAW/ONI DIDO TVOIGAN
(€Z'109°bL€$) (SL'S8e€OT$) (6L'8¥0' 1$) (66°996°09$) 99°L79‘067'1$ ONI XATdVIGAN
(OVLS1711$) (€1'¥S6°0€$) {00'0SZ'8$) (10'PEL SIS) 77 61P'98ES ONI SNOLLVOINNWWOD SOW
(1O0'L¥6°EZT$) (00°807'PE$) 00°0$ (y7'0F0'07$) EZ 6LOLZ$ (ddOO OWDdYOO VLVGOW

(OS6‘PSO'OLI$ (96°9SS‘TP69r$ 8301) | (SO'E6S‘COETS 1FIOL) | (000‘00S‘LZS$ 1830.1) | UOKHvUSISeg [BIOL Jonss}
[¥}0 1) s90q JO UOBIOT[Y | sasuadxy Jo UOBIOTTy Spaeay VYUISd sesuadx'y

NOD Jo uonro0]/V

 

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Case 1:01-cv-10640-SAS Document 40 Filed 12/04/09 Page 26 of 30

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

(06 816°LPI$) (L6°€Z8 OFS) 00°0$ (1U'916°€7$) 0S'0£9°60S$ ONI FUVMLAOS LSANO
(rZ69P'91£$) (66 IPE‘L8$) (L9°990°7$) (86°LOTI¢$) €Z'EVE06O'TS ONI WOO OUdaSVHOWNA
(1Z'PL0°L8$) (rs Te0rZ$) (00°62 6$) (OS 8L0‘bI$) 00°000‘00E$ ONI SHIDO TONHOSL ISd
(96°S86'19T$) (€€°904 Fr$) {00° r8E$) (to '061 97S) 97'960'°8SS$ ONI SIWALSAS ADUINA NOLOUd
(Z1°7S9'060'1$) (L8°L00°10€$) 00°0$ (06'OFE9LIS) BZ P9OLSLES duOO SNOILVOINNWWOO ADIGOUd
(OZ 0£¢'r6$) (69°190°97$) 00'0$ {p3'L97'S1$) BB EVE STES ONI SNOILNTOS JOGA TIMONN SNWTYd
(99 SPETI0'9$) (65 OFE6S9'1$) (LV'8L6 19) ($$°660°7L6$) ZI LSS PIL OS ONI WOO'ANITAION d
(88°90¢'0C9$) (O€'S86°ELTS) CEU TLT TS) (S$9°9C6 LOTS) ST PIG ILLS ONI SWELSAS MALATYd
{C1 108°9r7$) (LE'PLL'89$) (00'000°0T$) (LL £06°6€$) IP ELE0S8$ ONI SWALSAS JALLOIGad
(81661 SPs'T$) (13'S 97S) (OS Z8€'r$) ($8 €€8°67$) OT ZELETE'S$ ONI TUVMLIOS TYLYOd
(66'8S0°€ [2$) (26 108°8S$) (OS 608'F$) CZ 8rp'pes) 90'090'VELS ONI WOO XULANV 1d
(L0°901°7$9$) (€0°bL6 6L1$) (09°269'°9$) (90°S€FSOTg) O€ SZL‘9Pe'7$ duOO SWALSAS LOWd
(SLILE 68T$) (OS P9T‘ZS$) (00°0SZ° 1) (9¢'819°0€$) IS 6pp‘7S9$ WOO waadUood
(£19601 1$) (LY €b7°90€$) 00°0$ (26° LOF'6LI$) EL 6LOEZSE$ ONI STUOMLAN ANACVUVd
(€CTTS'686'T$) (6L°S80°6¢S$) (EE C€6°ES) (65° €L9'17E$) BL ILS PS8°9$ (dyOO WOOL)ONI WTvd
(OL E8S'6L7$) (66 191 ‘LL$) 00°0$ (61 P0z SPS) O1'097'€96$ ONI WWOOFTAL LSIM-OVd
(89°PzS‘E0€$) (pr'69L'E8$) (OF TIL°S$) (90°S20‘6r$) L8'PPL'SPO'l$ ONI UAALANOWd
{$£°790°9EF$) (SP SPEO7ZI$) (08° Z¥3°9$) (€¢"v0S‘0L9) 07 E8E‘ZOS'IS LANYALNI OO Vd
(6¢'079'SZE$) (99°L98°68$) 00°0$ (19 Lr9'7S$) IL‘ ZLB IZ1'TS ONT SUVM.LIOS DLO
($0'098'r87Z$) (17819829) (OS S19°6$) (67° LS0°9$) €6 SEP T86$ ONI OINVDYO
(TZ'PL0°L8$) (1S T€0'PZ$) {00°0L8"E$) (0S '8L0‘r1$) 00°000‘00E$ ONI SPONAIOSOIE GIHOYO
(eS C¥O'C1Z$) (SO L6L'8S$) 00'0S7°9$) (IL SPP Pes) 18'°900°PELS ONI SNOLLNSAUS.LNI OALVUO
(OL'SPEZOTS) (8Z'9PT'87$) (00°529$) (S9'LS‘91$) pr Sl9'ZSES ONI VATEVHdVuO
(SL°LL6°S6$) (6L'88¢°97$) (L9'0L0°6$) (90°81S‘S1$) TL'SLOOEES ONI FUVMLAOS OLLdO
(TLESZ'LTe$) (€V016'S8$) (00°0Sz$) (ST'6CE‘0S$) BE R9F'CLOTIS ONI SNOLLVOINNWNOD ANITAO
(€O'9L8FZS$) (6€°Cr8FrT$) (LV'678'S$) (I'PS8'rs$) 918918081 SWSLSAS TAVMNAdO
(1V€9S‘0FL$) (61'L8£'PO7$) (ze9t¢$) (PULEL'6LTS) 65 68h 1SS‘7$ (ALT HIWNdYOO A.LNAdO
(12 PLO0'L8$) (iS T€0'r7$) (00°SL8°S$) (0$°8L0'r1$) 00'000‘00€$ duOd TAVMLAOS XANO
(Lr'9P6'98L$) (Sp Ss tZ17$) (ce Cee es) (BO°9ET'LZI$) 76S6T TIL'Z$ ONI WOO’ VIANO
(issso'lis$) (r9°S70'L¢T$) (0S°S60°11$) (S¢'6c9‘78$) SS BSL O9LTS daOO SWALSAS INO
(97 €£9'cZP$) (80°Zr9°911$) (0S Z78°9$) (00'C£E'89$) SO'PIT OSH IS dado YOLONGNOOIWAS NO
(69°S£T‘007$) (€z'S€Z'SS$) (0S 940°7$) (L'8SETES) €6' FES 689$ ONI SHIDO TONHOSL NOISIAINNIO

 

 

(0S6‘PS0°OLTS
1830.1) S994 Jo uOIQBIO]TV

(96°9SS‘1F69FS 1830.1)
sesuadxy Jo uonesoly

 

(SO'E6S*EOLTS 1XIOL) | (000‘O0S‘*ZZ$ 1810.) | UORHEUsIseq [v0],
SpreMV VWUISd

 

sosuedxy
909 Jo uoHnBsol[V

 

 

 

Janssy

 

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Case 1:01-cv-10640-SAS Document 40 Filed 12/04/09 Page 27 of 30

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

(p0'S8z'9S9$) (8E°LZI‘I81S) (00°0SS°01$) (CLOLF90T$) ve ETL 1977S ONI WUOMLAN VIGAWAVLS
(el pcg'00z$) (€7°STH'SS$) (pr SLT ¢$) (€0'OLF ZES) £8°906'169$ ONI WOO'SdINVLS
(87'996'Z1S$) (QO ELST PIS) (00'rar'z$) (Op 8678S) OS 1PELIL'IS WALSAS ONILSVOCVOUd HSINVdS
(OZ OLE €2Z$) (69°LP9'19$) (BE TOS OTS) (LES119¢3) $9°S8S°69L$ ONI SYYOM.LAN SANOS
(1Z'FL0°L8$) (IS TE0PZ$) (L1'6L$) (0 '8L0°F1$) 00°000‘00€$ ONI TIVMOINOS
(17 PLO'L8$) (IS TL ZS) {(00°000°€$) (OS 8L0°F1S) 00'000°00€$ duiOO OLWS
(OP'08Z°9°T$) (83° 119°LE$) (00°000°T$) (S¢e're0'eZ$) COLES ‘69F$ duOO ASIGLYVWS
CT PLO'L8$) (TS 1£0'r7$) 00'0$ (0$°8L0°F1$) 00°000°00€$ SADIAACGOUOIW VZNAUIS
(L1'$66'8 £27$) (96°6E4°09$) (8P'r06'1$) (€3°LOF‘s€$) bl 80S‘HSL$ ONI FAVMLIOS WVALSUTA TIS
(€6°L8L€67$) {1Z'Z80'18$) 00°0$ (8200S°LP$) SP 861 ZIOT$ ONI SATYOLVUOMVT NOOITIS
(L8°9€r'€07$) (ZC9F1'9S$) 00°0$ (Le 768°CE$) 79°806°00L$ ONI ADV NOOLTUS
(65 OF8'8rCTS) (Z0'S97ZLE$) (88°€09$) (z3'$80'812$) £9 O1T LE9'VS ONI WONANOAS
($1°7€0°806$) (6L°909'0S7$) (00'007°L$) (61 PI8‘9FT$) 76 OLEBTLES ONI VOLLOSTAS
($9°190°L6€$) (09° 8S ‘60T$) (00'0SZ7°I$) (Br 8619S) ST ILOS9E TS ONI WOO LSANOIOS
(6L £06'LZ1$) (co'ooe's €£$) (00°SLr'T$) (86°69'0Z$) 89 1L9‘Orr$ CLT AVMOANI WVALVS
(8r'SOl‘e6$) (80°969°SZ$) (00°000°0T$) (99'¢S0'S1$) 9L'6LL‘OZES$ ONI FUVM.LAOS VEVS
(9L'TZL68STS$) (9T'8S3'er$) (6LO£1 I$) (¥9°€69°S7$) £0°80S‘LPS$ ONI WOOAMOU
(ZO'9SL°S65°7$) (€8°66€ 91L$) (00°000°S$) (66'169°61$) IL'pS7Er6'8$ SNOLLOANNOOLAN SWHLAHY
(Z£'666‘8ZT$) (86° 16P°SE$) (08 €¢8°7$) (rr'Z62‘07$) 10'890‘Err$ (ONI FUVMLAOS ONHONI MALAY
(6€0S7ZOI$) (L6°617' 87S) 00°0$ (po ZES‘91S) 90° LBZ ZSES ONI ALVNOSAY
(1 +'690'€6$) (Z1'989°S7$) (00'0SLT$) (€8°L¥0°S1$) IS'SS9OZES ONI SAIDOTONHOAL UALVAdTa
(60°6LF S9P$) (90°L9F'871$) (ZE9PS ES) (8P'097'SL$) Iv'ZEL‘E09'T$ ONI NOD WALSIDAY
(TO'€6S‘ LETS) (EP 86L‘0E$) (00'00¢°2$) (6L°r0'8 18) ES’ SLOPES ONI SNOILVOINNNWOD LNSDTY
(09° €10°66$) (99°97E°L7$) (00°000°E1$) (16°800°91$) ST SEL IVES Jada
CS LIP Lit'Z$) (98°LEL‘78S$) (82'0+0°7$) (67'Z8EI VES) LTS PLT LS ONI SYMOM.LAN WOVE
($8°Z19'8ZP'7$) (LVOLZ‘0L9$) (87°06 11S) (Z9°L99°26€$) IT 06€L9€'8$ ONI LVH Gaul
(Lp Lrr'coss) (po'sos‘cst$) (0S OLL'7$) (6C°001 169) 1S'997 16 I$ ONI HSIAIOZVA
(OZ 8zs‘SETg) (82'F0P LES) 00°0$ (EL Z16‘12$) CLOG 99K$ ONI SAIDO IONHOAL LNASIAVY
{08°987'16$) (PL y61'SZ$) (L5°870'T$) (19° 6SLFT$) IS €IS‘PlEes GLTaavMava
(PS ZZ6‘LIZ$) (07 rr L'09$) (6L'S90°7$) (LE'pET SES) ZI 91BOSLS$ YOO SNOLLVOINNWNOO VOINN OIdVa
(€8°867 €01$) (€£°60$‘87$) 00°0$ (94° 10L‘91$) O£'668'SS ES ONI ANO OIGVU
(Z8°S76‘611$) (61'860°E£$) (SZOTE TS) (80°06€6T$) 68 VSL EL HS did DIDOTAOING

(OS6‘PS0‘0LIS (96°9SS‘TP69rS 1F10.L) | (SO'cES‘COE'TS 1FIOL) | (O00‘DOS‘LTS [H0.L) | UOEUdIsaq ]¥z0], Janss}
[¥JO]) saoq Jo uoWEdoyy | sasuadxy jo uoyEIoTy SPIGAY VUISd sasusdxy

NOD Jo uoyeaojpy

 

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Case 1:01-cv-10640-SAS Document 40 Filed 12/04/09 Page 28 of 30

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

(¥8°718'69S$) (ZO'Z9TLST$) (s9'6S8"€$) (LS°671'76$) OE LELE96 I$ dyOO OWLNAA
(ZO PLES ZS) (pp 89'6S$) (00°000'7$) (9°8E8'hC$) S9'O8ETHLS ONI SOINSDVRIVA
(L7'209°96S$) (09°Ss9°r9T$) (z€-9%¢$) (66'096'96$) 66'S6PSSOCS ONI VORIANV ANTVA
QT PLO'LS$) (1S 1e0'r7$) (00° 000°r$) (OS SLO'FIS) 00°000°00€$ ONI VIGAW AATIVA
(TZ'PL0°L8$) (1$"1€0'rZ$) 00°0$ (0¢'8L0°F I$) 00°'000‘00€$ ONI LYSAOITIVA
(tr $S0'r69'°7$) (LE6TS CFLS) (00'0ST'SZ$) (Zr'ses*sers) 87676187 6$ ONI SWALSAS XONIT VA
(97'96Z'018$) (LL'7£9E7Z$) (00° 0S LTS) (48° T1O'LET$) TS ere‘ 16L‘7$ ONI WOOUVISLA
(1L°68S 80'°7$) (ogsesocs) (33°¢09$) (00° P@Z1E€$) 8Z'780'8S0°L$ ONI ONISIYOMLANAALNISN
(ZZ'886°L8€$) (bP'080°L01$) {OS 0ES°L$) (St 1€L°79$) PT OSL'OEE TS AN WWOD ddOUNa-NVd GALINA
(T3'ELEOESS) (8Z°LLE9OFTS) (00°008°6$) (16'ZSL°S8$) I99TELZ8IG TVAOTD SX¥N
(OS LSTIL8$) (18°6ZF 07S) (67°8SL'1$) (OV'ZS80FT$) cS LEP LO0'ES ONI SWALLSAS LOL
(86° €L5°666$) (TE TL8°SL7$) (00°66r'L$) (€O°S19°19T$) 8E698 Err es ONI SWALSAS ANOLSNUNL
(L8°8SC 1879) (ZV LOL‘LL$) 00°0$ (PS €7S‘SHS) vZ'$90°0L6$ ONI SWALSAS SYOMLAN NOLRIL
(8'90F'0ZZ$) (b'6728'09$) (gc'70S$) (QU9E9"S€E$) 79'PLE6SLS doo VLAWSNVUL
(SL°Z96€6£$) (S6°819°801$) (00°009°9$) (LE'7E9'E9$) BE9S6SSETS ONI OALL
(1p ers‘L81$) (06° 6SL1S$) (o0'000°T$) (SL 2Z€ 0€$) LZ OS 1909S SHIDO IONHOSL LNIOdDNIddIL
{EL ZZ1‘98T$) (13 L9E'LS$) 00'0$ ($0°€60'0€$) SS SST POS WOO'SLANOLL
(SUTES‘t8Z$) (16°696'S12$) CU TEL‘ 7$) (OL CZS‘9Z1$) L9°€80°969°7$ HOUVASALIO-ANI'INO WALSVALANOLL
(€O'SEL9LI$) (bl'Z19'°8b$) ($7 1£7°9$) (69°8L¢'87$) 16'7S3‘909$ ONI UVM LAOS OOEILL
(98'708°Z19$) (PE'L71°69T$) 00°0$ (69°080°66$) LEGOIE TILES WOO Lada LSaHL
{85° SES F6$) (61''S8'°6S7$) CLV 6CL'S$) (9 TET TS1$) LE LIG ERT ES ONI WOO'AEO TOSAHL
(68 PSP £7S$) (SO LOP' Fr!) (00'00€°8$) (61 P£9'b8$) 95° LLYE08 ‘TS SYYOMLAN VUYAL
(SO'9£1°861$) (SE'E89FS$) {0g 'L79$) (r'seo'tes) BP'SP9'789$ duOO GIOANAL
(¥0'619°681$) (SL°7EE ESS) (00'0SL'€$) (S¢'8s9'0E$) oS LOEES9S ONI SOd CUOOATAL
(69° 98¢°L8$) (QLLI‘bZ$) (00'r9°7$) (20671 ‘F1$) 19°9L0°TOE$ ONI SWALSAS NOILVOINNNINOOF TAL
(O€ PTS*E9C$) (L9°8ZE00T$) (6L'S 1€$) (€O'9LL'8S$) 6L'COV'TST IS duOO SNOLLVOINNAWODO SIXV TAL
(1Z'PL0°L8$) (TS 1£0'r7$) (EOL8P'9S) (OS'8L0°P I$) 00°000‘00€$ ddiOO NVIUVTVL
(€0°68$°007'r$) (16'S LE6ST'TS) (00° €F6'07$) (99°291°6L9$) OS SpP'ZLP HIS ONI SYYOMLIN FUOWVIAS
(€8°Z1S‘8ST$) (BL'LPL‘ErS) 00°0$ (L6°8Z9°SZ$) PLOT ‘9rsg ONI GUVOPHOLIMS
(SO €8b'r69) (P'9L0°97$) (00°'SZTI9) (6F 9LZ'S1$) SO'8ZS‘*SZES ONI NOD’ LYOddns
(EL OLLLIZ$) (97 9FP'8S$) (00°008"r$) (98°6€7' pes) 07'0Z9‘67L$ ONI SAVMLHDIT SOLVULS
(8€°9L6°6LL$) (Z3'p97'S 129) (6L'SLE$) (€9°6019Z1$) 09° 187°L89°7$ ONI STYOMLANADVUOLS

(0S6'P80°0L1$ (96°9SS‘Tr6'9P$ 18301) | (SO'CES‘EOETS BIOL) | (000‘00S‘LZS 1BIOL) | UOLBUBIsaq JeJ0], Janss]
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Case 1:01-cv-10640-SAS Document 40 Filed 12/04/09 Page 29 of 30

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(00°0S6'F80°0L1$) K(969Ss*1F6'9rS) (so'ces‘coc'T$) (00°000°00S‘L7S) 00°000‘000‘98SS IVLOL
(0Z'666°8E£$) (10'09S€6$) ($2°L96'1$) (ZL'OL8‘bS$) SS°996°L9L'I$ ONI SAIDOTONHOEL TA.L-Z
(OF 20€‘79Z$) ($S'76E CLS) 00'0$ (80°OLP tr$) 61 07L‘E06$ ONI YOIdAdX
(€0'88Z"9r1$) (9811S ‘Or$) (00°000°0T$) (92° €ELE7S) Pe VEL'SOSS$ ONI LAN FUVOX
(60° SOF'88T$) (TL'L66°1S$) (00°006$) (40°79¥‘0€$) 90°61 1 6r9$ NOILVUACAI ONITLSTUM ATYOM
(Z6°CS7‘L6$) (Sc'O8S‘SET$) (ZE97S$) (69° L7P6L$) $6 LES°769'T$ SSYOMLAN WOO'NAWOM
(67°96 ‘prI‘T$) ($L'988°C1€$) {00'0SZ"E$) (Ly LSO'S81$) pr 90P EP6 ES ONI SALLITIOVA SSATHUIM
(Z3°OrF PRES) (SO EOL 90T$) (ZE9LT ES) (48°85 1°79S) E6'SPS PTE TS ONI SNOLLVOINNWANOS SINIM
(€1°$96'°C0Z'TS) (1O'S00'CEES) (00'06+'8$) {T100S'r6T$) 9v'079' Fr ‘YS ONI dNOWD NVAGIM
(68°Z16°760'1$) (EL TE91OE$) ($9°6S8'8$) (E°90L9LT$) SETH SOLES ONI SGOHLAWEAM
($8°919°C68'1$) (EZ 1PECZS$) (00'00¢'S$) (0L'S00°90£$) LI E0L0%S‘9$ CWEaM
(r9°$69°80¥$) (or S6L‘CI1$) (00°S08"E$) (16°6L0'99$) O£'760'80F'T$ duOO TAXIA
($9°788°797$) (69°7SS°CL$) (00°0S6'°1$) (68° c0s‘Zr$) SE6IL‘'S06$ DNI ADO TONHOSL VILIA
(LL @Z0°601$) {L0°680°0£$) (00°000°0T$) (EZ LZ9L19) 1Z'079°SLE$ duOd VIVUIA
(1 PL0'L8$) (1g T£0'rZ$) (00'0SL°L$) (0S 80°F I$) 00°000°00E$ ONI SDVUIA
(TS ZOOLLZ$) (79'6rP'9L$) (L¢°8Z0°J $) ($8°98L'¢r$) 90'L9OEPS6$ dO ALLANDIA
(86° €71°LZ0°T$) (18 LF €87$) (00'Fr9°L$) (Z'690°99T$) Ev SBL'SES ‘ES ddOO ALINIOIA
(Z6°9LS‘F17$) (¢8'077'6S$) (6L'S90°0I$) (79 €69'rE$) €8°687 6EL$ duOO LNVIA
(TZ PL0°L8$) (1S 10°"7$) ($6'F69°E$) (0$°820'F1$) 00°000‘00€$ ONI YOAGVIA
(26 PE0'SL8$) (83°LZETFZS) (o0°00$"€$) (71796 TFT$) EL 9Z1‘STO'ES$ ONI SYUOM'LAN VIA
(Zr ssr‘slr$) (9€°699'F11$) (00'0S$"€7$) CELLU‘L9$) SELBY TED TS ONI LANTVOLLYAA
(67 L8P‘EPES) (89°86L'?6$) (OS 7878S) (LE-9E6°CS$) €S 67 ESI I$ SONIMIOH OGVUAA

(0S6‘P80°0LT$ (96°9SS'TP6OPS 1¥30.L) | (SO'CES‘COE'TS I¥I9L) | (000‘00S‘LZ$ 1890.L) | UONEUsIsog [BIOL Janss]
18}0.L) S9a,q Jo uoIzeIOI[y | sasuedxy Jo uONeIOTTY SpABMY VUIISd sosuedxy]

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Case 1:01-cv-10640-SAS Document 40 Filed 12/04/09 Page 30 of 30

CERTIFICATE OF SERVICE
[ hereby certify that on the 20" day of November, 2009, I caused true and accurate copies

of the foregoing to be served by hand upon the following:

Gandolfo V. DiBlasi, Esq. Jack C. Auspitz, Esq.
Sullivan & Cromwell LLP Morrison & Foerster LLP

125 Broad Street 1290 Avenue of the Americas
New York, NY 10004 New York, NY 10104-0050

All other counsel of record to be served by LexisNexis File & Serve or First-Class mail.

a.
Al thee Ducher

Matthew Bucher
